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Attorneys for Plaintiff
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   MAG. NO. 22-1259 RT
                                       )
                  Plaintiff,           )   MOTION TO DETAIN
                                       )   DEFENDANTS WITHOUT BAIL;
      vs.                              )   CERTIFICATE OF SERVICE
                                       )
WALTER GLENN PRIMROSE, (01)            )
  aka, “Bobby Edward Fort”             )
                                       )
GWYNN DARLE MORRISON, (02)             )
  aka, “Julie Lyn Montague”            )
                                       )
                  Defendants.          )
                                       )
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            MOTION TO DETAIN DEFENDANTS WITHOUT BAIL

      Both defendant Walter Glenn Primrose and defendant Gwynn Darle

Morrison pose a serious risk of flight and are eligible for detention under 18 U.S.C.

§ 3142(f)(2)(A). Defendant Primrose has held a secret clearance for six years in

his employment with a defense contractor at the United States Coast Guard Air

station at Barbers Point. Prior to his civilian employment, defendant Primrose

held a Secret clearance as an avionics electrical technician in the Coast Guard.

While he held that Secret clearance with the U.S. Coast Guard, defendant Primrose

was required to report any foreign travel. Investigation has revealed that

defendant Primrose did not report several trips to Canada while he did report other

foreign travel.

      Defendant Primrose through his work in the Coast Guard as an avionics

electrical technician has become highly skilled in electronics and would be able to

communicate surreptitiously with others if released from pretrial confinement. It

is believed that the defendants may have established aliases other than “Bobby

Edward Fort” and “Julie Lyn Montague”. Federal agents have seized letters at

defendants’ residence addressed to the defendants in their false identities in which

the greetings in the letters refer to defendants by names other than Bobby, Julie,

Walter, or Gwynn. A close associate of defendant Morrison advised federal




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agents that Morrison, sometime ago, lived in Romania (while that country was

within the Communist bloc).

             Federal agents have also seized photographs from the defendants’

residence that depict the defendants apparently some years ago wearing what have

been identified as KGB uniforms. The Department of State has found no record

that defendant Morrison has ever been issued a passport under her true identity that

would permit her to travel internationally.

             There are no conditions or combination of conditions of release which

will reasonably assure defendants’ appearance as required. 18 U.S.C. § 3142(e). 1

      The United States requests that the Court conduct the detention hearing after

a continuance of three days.

      DATED: July 25, 2022, at Honolulu, Hawaii.

                                              CLARE E. CONNORS
                                              United States Attorney
                                              District of Hawaii


                                       By     /s/ Thomas Muehleck
                                              THOMAS MUEHLECK
                                              Assistant U.S. Attorney




1. A property bond cannot be secured by defendants’ properties in Kapolei.
Defendants’ mortgaged their Kapolei properties under their false identities, thus
committing bank fraud. The Kapolei properties are criminally forfeitable.

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                          CERTIFICATE OF SERVICE

      I hereby certify that, on the date and by the method of service noted below, a

true and correct copy of the foregoing was served on the following at their last

known address:

Served through CM/ECF:

Salina M. Kanai                 E-mail: salina_kanai@fd.org

Attorney for Defendant
WALTER GLENN PRIMROSE
aka “Bobby Edward Fort”

Megan K. Kau, Esq.              E-mail: mk@megkaulaw.com

Attorney for Defendant
GWYNN DARLE MORRISON
aka “Julie Lyn Montague”

Served via E-mail:

Diane Arima-Linscott            E-mail: diane_arima-linscott@hip.uscourts.gov
U.S. Probation Officer

      DATED: July 25, 2022, at Honolulu, Hawaii.


                                /s/ Sheila Mae Limayo
                                U.S. Attorney’s Office
                                District of Hawaii
